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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                        )
 In re:                                 )
                                        )                       Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P.,     )
                                        )                       Case No. 19-34054 (SGJ)
                Reorganized Debtor.     )
                                        )
                                        )
 HIGHLAND CAPITAL MANAGEMENT, L.P.,     )
                                        )
                Plaintiff,              )                       Civ. Act. No. 3:21-cv-00881-X
                                        )
 v.                                     )                       (Consolidated with 3:21-cv-00880-X;
                                        )                       3:21-cv-01010-X; 3:21-cv-01360-X;
 NEXPOINT ASSET MANAGEMENT, L.P. (F/K/A )                       3:21-cv-01362-X; 3:21-cv-01378-X;
 HIGHLAND CAPITAL MANAGEMENT FUND )                             3:21-cv-01379-X; 3:21-cv-03207-X;
 ADVISORS, L.P.), et al.,               )                       3:22-cv-0789-X)
                                        )
                 Defendants.            )
                                        )

                                CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the bankruptcy case
of Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex).

        On July 14, 2023, at my direction and under my supervision, employees of KCC caused
the following documents to be served via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B:

   •   Highland Capital Management, L.P.’s Motion to Deem the Dondero Entities
       Vexatious Litigants and for Related Relief [Docket No. 136]

   •   Highland Capital Management, L.P.’s Memorandum of Law in Support of its Motion
       to Deem the Dondero Entities Vexatious Litigants and for Related Relief [Docket No.
       137]



                                   (Continued on Next Page)
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   •   Appendix in Support of Motion to Deem the Dondero Entities Vexatious Litigants
       and for Related Relief [Docket No. 138]

Dated: January 23, 2024
                                          /s/ Esmeralda Aguayo
                                          Esmeralda Aguayo
                                          KCC
                                          222 N Pacific Coast Highway, Suite 300
                                          El Segundo, CA 90245




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                           EXHIBIT A
                                               Exhibit A
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                                          183Actions
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                                                     Service List
                                                                                                   Page 4 of 7 PageID 67992
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                Description                          CreditorName                  CreditorNoticeName                          Email
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                           EXHIBIT B
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                                       Affected Parties Service List
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